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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

MARC GRANO,

       Plaintiff,

v.                                                   Civ. No. 20-147 PJK/KK

STATE OF NEW MEXICO et al.,

       Defendants.

             ORDER GRANTING THIRD JOINT MOTION TO EXTEND
                     CASE MANAGEMENT DEADLINES

        THIS MATTER came before the Court on the parties’ Third Joint Motion to

 Extend Case Management Deadlines (Doc. 81) (“Motion”), filed October 22, 2021.

        The Court, having reviewed the Motion and being otherwise fully informed, finds

 good cause to extend case management deadlines as the parties have requested. However,

 the parties are hereby advised that no further extensions will be granted.

        IT IS THEREFORE ORDERED that the parties’ Motion is GRANTED and case

 management deadlines in this matter are extended as follows:

       a.)      Plaintiff’s Rule 26(a)(2) expert disclosure: Tuesday, January 11, 2022

       b.)      Defendants’ Rule 26(a)(2) expert disclosure: Friday, February 11, 2022

       c.)      Termination date for fact discovery: Tuesday, January 18, 2022

       d.)      Termination date for expert-related discovery: Friday, March 11, 2022

       e.)      Motions relating to fact discovery to be filed by: Friday, February 11,
2022

       f.)     Motions relating to expert discovery to be filed by: Friday, April 1, 2022

       g.)    Pretrial motions other than discovery motions (including motions which
may require a Daubert hearing) filed by: Friday, April 15, 2022




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 h.)    Proposed Pretrial Order:
                     Plaintiff to Defendants by: Monday, August 1, 2022
                     Defendants to Court by: Monday, August 15, 2022

  IT IS SO ORDERED.



                                  ____________________________________
                                  KIRTAN KHALSA
                                  UNITED STATES MAGISTRATE JUDGE




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